             Case 5:19-cv-00074-FB Document 47 Filed 02/22/19 Page 1 of 5

                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

Texas League of United Latin American Citizens, et al.,

vs.                                                   Case No.: 5:19-cv-00074-FB
Whitley et al.


                          MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Sophia Lin Lakin                                            , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Plaintiffs                                          in this case, and

would respectfully show the Court as follows:


       1.        Applicant is an attorney and a member of the law firm (or practices under the name of)
                 American Civil Liberties Union Foundation, Inc.          with offices at:

                 Mailing address: 125 Broad Street, 18th Floor

                 City, State, Zip Code: New York, NY 10004

                 Telephone: (212) 284-7332                    Facsimile: (212) 549-2654


       2.        Since    2013                                 , Applicant has been and presently is a

                 member of and in good standing with the Bar of the State of New York                     .

                 Applicant's bar license number is 5182076                                                .


       3.        Applicant has been admitted to practice before the following courts:

                 Court:                                       Admission date:
                 Eastern District of Wisconsin                May 11, 2015

                 Fourth Circuit Court of Appeals              April 28, 2016

                 See addendum for further admitted courts.
     Case 5:19-cv-00074-FB Document 47 Filed 02/22/19 Page 2 of 5

4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
                Case 5:19-cv-00074-FB Document 47 Filed 02/22/19 Page 3 of 5

          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Thomas Busey-Clancy

                 Mailing address: ACLU of Texas, 5225 Katy Freeway, Suite 350

                 City, State, Zip Code: Houston, TX 77007

                 Telephone: (713) 942-8146


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Sophia Lin Lakin                          to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Sophia Lin Lakin
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 22nd day of February                  , 2019 .

                                                        Sophia Lin Lakin
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
          Case 5:19-cv-00074-FB Document 47 Filed 02/22/19 Page 4 of 5



Sophia Lin Lakin admitted courts continued:

Court:                                        Admission Date:
Tenth Circuit Court of Appeals                May 4, 2016
Sixth Circuit Court of Appeals                April 6, 2017
Eighth Circuit Court of Appeals               November 4, 2016
Fifth Circuit Court of Appeals                May 22, 2017
Eleventh Circuit Court of Appeals             May 17, 2017
Supreme Court of the United States            June 12, 2017
Seventh Circuit Court of Appeals              July 24, 2018
                 Case 5:19-cv-00074-FB Document 47 Filed 02/22/19 Page 5 of 5

                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


Texas League of United Latin American Citizens, et al.

vs.                                                      Case No.: 5:19-cv-00074-FB
Whitley et al.



                                                       ORDER

       BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Sophia Lin Lakin                                            , counsel for

Plaintiffs                                               , and the Court, having reviewed the motion, enters

the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Sophia Lin Lakin                          may appear on behalf of Plaintiffs

in the above case.

       IT IS FURTHER ORDERED that Sophia Lin Lakin                                                , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

       SIGNED this the                day of                                         , 20          .




                                                         UNITED STATES DISTRICT JUDGE




                                    Reset all fields         Print Form
